Case 2:08-Cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 1 of 32 Page ID #:1

1|BERKE, KENT & WARD LLP
Ted S. Ward, Esq. (143810)

9.1624 8. Grand Avenue, Suite 2940

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Attorneys for Plaintiff SY et me
51 Olympic Diamond Corporation ea =
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8 UNITED STATES DISTRICT COURT | B88 G0
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9 CENTRAL DISTRICT OF CALIFORNIA ce in
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10 WESTERN DIVISION
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12 |OLYMPIC DIAMOND CORP., a New Case No PS few Ce Pye
13 York corporation, |. é\ 6 Bo 03 1 97 CAS (RZx
COMPLAINT FOR:
14 Plaintiff,
1. BREACH OF CONTRACT;
15 2. NEGLIGENCE;.
VS. 3, FRAUD,
16 4. NEGLIGENT |
MISREPRESENTATION; AND
17] LANSAR LLC DBA GEMOLOGICAL| 5. CONVERSION.
SERVICES OF BEVERLY HILLS, a
18 | California corporation; ZAREH
BOYADJIAN, an individual; and Does DEMAND FOR JURY TRIAL
19 | 1-10, inclusive.
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Defendants.
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Los Angeles, California 90017

3 | Telephone: (213) 995-2500

Facsimile: (213) 995-2505

 

 

 

 

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Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 2 of 32 Page ID #:2

] Plaintiff Olympic Diamond Corporation (“Plaintiff”), based upon personal

2. | knowledge as to all acts or events that it has undertaken or witnessed, and upon

3 | information and belief as to all others, alleges as follows:

, ;

5 THE PARTIES

6] | 1. Plaintiff is, and at all times mentioned herein was, a corporation

7 organized and existing under the laws of the State of New York with its principal

8 | place of business in New York, New York.

9 2. Defendant Lansar, LLC dba Gemological Services of Beverly Hills
10 | (“Lansar”) is, and at all times mentioned herein was, a limited liability company
11 | organized and existing under the laws of the State of California with its principal
12 | place of business in Beverly Hills, California.
13 3. Defendant Zareh Boyadjian, (“Boyadjian”) is, and at all times
14 | mentioned herein was, an individual residing in the County of Los Angeles, State of
15 | California.
16 4, The true names and capacities, whether individual, corporate, or
17 | otherwise, of DOES 1 through 10, inclusive, are unknown to Plaintiff, which
18 therefore sues said Defendants by fictitious names. Plaintiff will amend this
19 | complaint to allege the defendants’ true names and capacities once they are
20 | ascertained. Plaintiff is informed and believes, and thereon alleges, that each of the
91 | Defendants sued herein as DOES j through 10, inclusive, are in some manner
22 | responsible for the events and occurrences alleged herein, and that Plaintiff's
23 | damages as alleged herein were proximately caused by such Defendants.
24 5, At all times mentioned herein, Defendants, and each of them, were the
25 | agents, servants, and/or employees of each of the other defendants, and were at all
26 | times acting in such capacity, within the course, scope, and purpose of said agency
27 | and employment, and each Defendant has authorized, permitted, consented to,
28 | ratified and approved of the acts of his, her or its agents, servants and employees.

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Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 3 of 32 Page ID#:3 .

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Further, in doing the things alleged herein, Defendants, and each of them, acted in

 

concert and in a conspiracy with one another.
JURISDICTION AND VENUE
6, This Court has subject matter jurisdiction over the matters pleaded

herein under 28 U.S.C. § 1332. The amount in controversy exceeds $75,000,

exclusive of costs and interest.
7, Venue over this claim is proper in this judicial district pursuant to 28

U.S.C. §§ 1400(b) and 1391() and (c), because, among other reasons, Defendants
Lansar and Boyadjian are subject to personal jurisdiction in this judicial district and
hence are deemed to reside in this judicial district for purposes of venue.
Furthermore, defendant Lansar’s principal place of business is located in this
judicial district and Boyadjian resides here. In addition, Defendants’ conduct which

gives rise to this action occurred in this judicial district.

BACKGROUND
8, In or about November 2005, Defendants approached a sales

 

representative of Plaintiff, representing that they needed additional gems for a
special promotion they were planning related to their opening of a new location.
After some due diligence, including confirmation that Defendants had adequate
insurance, Plaintiff agreed to sell Defendants with certain diamonds (collectively,
the “Diamonds”) as detailed below.

9, On or about November 22, 2005, Plaintiff transferred to Defendant
upon Memorandum Number 1303 67, one diamond stone, with a total weight of
2-11 carats and a wholesale value of $18,357.00. A true and correct copy of the
November 22, 2005 Memorandum is attached hereto as Exhibit “A.”

10. On or about November 29, 2005, Plaintiff transferred to Defendant

upon Memorandum Number 130625, one diamond stone, with a total weight of

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Case 2:08-cv-03197-CAS-RZ Document1 Filed 05/14/08 Page 4 of 32 Page ID #:4

 

3.02 carats and a wholesale value of $27,300.80, A true and correct copy of the

November 29, 2005 Memorandum is attached here to as Exhibit “B.”

11.  Onor about December 12, 2005, Plaintiff transferred to Defendant
upon Memorandum Number 131072, one diamond stone, with a total weight of
9.36 carats and a wholesale value of $185,749.20. A true and correct copy of the
December 12, 2005 Memorandum is attached here to as Exhibit “C.”

12.  Onor about December 13, 2005, Plaintiff transferred to Defendant
upon Memorandum Number 131196, four diamond stones, with a total weight of
15.05 carats and a wholesale value of $244,003.75. A true and correct copy of the

December 13, 2005 Memorandum is attached hereto as Exhibit “D.”
13. Onor about December 14, 2005, Plaintiff sold to Defendant, via

Invoice Number 46492, two diamond stones, with a total weight of 4.05 carats and
a wholesale value of $29,758.08. A true and correct copy of the December 14,

2005 Invoice is attached here to as Exhibit “E.”
14. On or about December 15, 2005, Plaintiff transferred to Defendant

upon Memorandum Number 131421, 71 diamond stones, with a total weight of
67.59 carats and a wholesale value of $303,534.00. A true and correct copy of the
December 15, 2005 Memorandum No. 131421 is attached here to as Exhibit “F.”

15. On or about December 15, 2005, Plaintiff transferred to Defendant
upon an additional Memorandum Number 131422, six diamond stones, with a total
weight of 13.16 carats and a wholesale value of $117,731.00. A true and correct
copy of the December 15, 2005 Memorandum No. 131422 is attached here to as
Exhibit “G.”

16. On or about December 16, 2005, Plaintiff sold to Defendant via
Invoice Number 46556, one diamond stone, with a total weight of 5.44 carats and a

wholesale value of $121,856.00. A true and correct copy of the December 16, 2005

Invoice is attached here to as Exhibit “1H.”

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COMPLAINT

 
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17. The November 22, 2005 Memorandum, November 29, 2005
Memorandum, December 12, 2005 Memorandum, December 13, 2005
Memorandum, December 14, 2005 Invoice, December 13, 2005 Memorandum No,
131421, and December 13, 2005 Memorandum No. 131422 are referred to
collectively herein as the “Memoranda and Invoices.”

18, Defendants never paid Plaintiff for the Diamonds or returned them to
Plaintiff.

19. Plaintiff is informed and believes, and thereon alleges, that
Defendants claim that on or about December 17, 2005 an unidentified individual

was allowed inside Defendants’ premises and robbed the business,

FIRST CAUSE OF ACTION
(Breach of Contract ~ against all Defendants)
19. Plaintiff hereby realleges and incorporates by this reference

paragraphs 1 through 18 above as if fully set forth herein.

20. As represented by the Memoranda and Invoices, Plaintiff agreed to
provide the Diamonds to Defendants and Defendants agreed to pay for them and/or
return them to Plaintiff. Defendants breached the agreement by among other
things, failing to pay Plaintiff or to return the Diamonds.

21. Plaintiff performed all conditions required of it under the agreement,
other than those the performance of which was excused by Defendants’ breach or
other conduct.

22, Asa direct and proximate result of Defendants’ breach of the
agreement, Plaintiff Olympic Diamond has suffered damages, including the loss of
the Diamonds the wholesale value of which in 2005 was $1,048,289.83.

23. Plaintiff also seeks specific performance of the terms of the agreement,

as evidenced by the Memoranda and Invoices.

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SECOND CAUSE OF ACTION
(Negligence — against all Defendants)
24, Plaintiff hereby realleges and incorporates by this reference

paragraphs | through 23 above as if fully set forth herein.

25. Asabailee, Defendants owed a duty to Plaintiff to exercise due care in
controlling, monitoring and maintaining the Diamonds,
26. Defendants failed to satisfy their duty of due care by, among other

things, allegedly losing possession of the Diamonds.
27, Asa direct and proximate result of Defendants’ failure to satisfy their

duty of care, Plaintiff has suffered damages, including the loss of the Diamonds the

wholesale value of which in 2005 was $1,048,289.83.

THIRD CAUSE OF ACTION
(Fraud — against all Defendants)
> Plaintiff hereby realleges and incorporates by this reference

paragraphs 1 through 27 above as if fully set forth herein.
29.  Plaintif is informed and believes that Defendants fraudulently induced

Plaintiff to provide them with the Diamonds, whether by Memoranda, Invoice or
otherwise. At the time Defendants negotiated with Plaintiff’s sales representative,
Defendants had no intention of attenspting to sell the Diamonds or returning them
to Plaintiff, Instead, Defendant at all relevant times intended to steal or allow

another person to steal the Diamonds.
30, Plaintiff is further informed and believes that Defendants fraudulently

represented to Plaintiff that the Diamonds were part of an alleged robbery in which

Defendants were unwilling victims.

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Case 2:08-cv-03197-CAS-RZ Document1 Filed 05/14/08 Page 7 of 32 Page ID#:7

1 31. Defendants made their representations and omitted material facts with
2| the intent to induce Plaintiff's reliance and to cause it to deliver to Defendants

3 | more than a million dollars worth of diamonds on Memoranda and pursuant to

4 | Invoices.
5 32, The representations by Defendants were in fact false and/or concealed

or omitted material facts regarding Defendants’ true intent, which was that
Defendants knew the Diamonds would not be sold and the wholesale price remitted

to Plaintiff, but rather a robbery would be staged so that Defendants and others

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would obtain the Diamonds without payment to Plaintiff,

10 33. At the time these misrepresentations of fact were made, and the

11 | concealments and omissions as alleged occurred, Plaintiff was ignorant of the facts
12 | which Defendants failed to disclose and the falsity of their misrepresentations.

13 34. Plaintiff actually and justifiably relied on the representations and

14] concealments and omissions of Defendants by, among other things, agreeing to

15 | transfer and actually transferring the Diamonds to Defendants.

16 35, Aga proximate result of such fraudulent acts, Plaintiff has been

17] damaged in an amount to be established at trial, which amount exceeds

18 | $1,048,289.83, the wholesale value of the Diamonds in November and December
19 | 2005.

20 36. In committing the acts herein alleged, Defendants acted with fraud,
21} oppression and malice, in furtherance of their own interest and in conscious

22\ disregard of Plaintiff's rights. Therefore, Plaintiff is entitled to exemplary damages

23 lin an amount to be determined at trial.

 

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25 FOURTH CAUSE OF ACTION

26 (Negligent Misrepresentation — against all Defendants)

27 37, Plaintiff incorporates herein by this reference paragraphs | through 35

28 | as if set forth in full.

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COMPLAINT

 

 
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38, Through the conduct set forth above, Defendants misrepresented
and/or failed to disclose material facts they were bound to disclose about their
intent and/or ability to sell the Diamonds, their ability to pay for the Diamonds and
what happened to the Diamonds.

39. At the time these misrepresentations of fact were made, and the
concealments and omissions as alleged occurred, Olympic Diamond was ignorant
of the facts which Defendants failed to disclose and the falsity of the
misrepresentations.

40. Olympic Diamond actually and justifiably relied on the representations
and concealments and omissions of Defendants in agreeing to transfer and actually
transferring the Diamonds to Defendants, among other things.

41, Asa proximate result of Defendant’s negligent misrepresentations,
Plaintiff has been damaged in an amount to be established at trial, which amount

exceeds $1,048,289.83, the wholesale value of the Diamonds in November and

December 2005.

FIFTH CAUSE OF ACTION
(Conversion ~ against al] Defendants)

42. Plaintiff incorporates herein by this reference paragraphs 1 through 41

as if set forth in full.
43. As discussed above, Plaintiff transferred the Diamonds to Defendants

pursuant to the Memoranda and Invoices. If Defendants failed to sell the
Diamonds, Defendants were obligated to return them to Plaintiff. Defendants failed
to sell or return the Diamonds to Plaintiff. As alleged above, Plaintiff is informed

and believes that Defendants did so intentionally.

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COMPLAINT

 
Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 9 of 32 Page ID#:9

1 44. Asa proximate result of Defendants misconduct, Plaintiff has been
2 | damaged in an amount to be established at trial, which amount exceeds
$1,048,289.83, the wholesale value of the Diamonds in November and December

2005.
45, In committing the acts herein alleged, Defendants acted with fraud,

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oppression and malice, in furtherance of their own interest and in conscious

disregard of Plaintiff's rights. Therefore, Plaintiff is entitled to exemplary damages

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8 in an amount to be determined at trial.

 

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10 PRAYER FOR RELIEF
i WHEREFORE, Plaintiff prays for judgment and relief against each

12 | Defendant as follows:
13 | As to the First Cause of Action:
14 1. For general, compensatory damages, together with interest therein at a
15 | legal rate, the exact amount subject to proof at time of trial;
16 2. For an order requiring Defendants to specifically perform the parties’
17 | agreement, by among other things, paying for or returning possession of the
18 | Diamonds to Plaintiff;
19 | As to the Second, and Fourth Causes of Action:
20 1. For general, compensatory damages, together with interest therein at a
21 | legal rate, the exact amount subject to proof at time of trial;
22| As to the Third and Fifth Causes of Action:

23 1. For general, compensatory damages, together with interest therein at a

24 | legal rate, the exact amount subject to proof at time of trial;

25 2. For punitive damages, according to proof,
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COMPLAINT

 
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As to Fach Cause of Action:
1. That Plaintiff be awarded its costs of suit, including attorneys’ fees;

and
2. ‘That the Court grant such other and further relief as it deems just and

proper.
Dated: May 14, 2008 Berke, Kent & Ward LLP

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Ted 8, Ward
Attorneys for Plaintiff
OLYMPIC DIAMOND CORPORATION

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Case 2:08-cv-03197-CAS-RZ Document1 Filed 05/14/08 Page 11 o0f 32 Page ID#:11

1 DEMAND FOR JURY TRIAL
2 Plaintiff Olympic Diamond Corporation hereby demands a trial by jury on all

3 lissues so triable in this action.

Dated: May 14, 2008 Berke, Kent & Ward LLP

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9 Ted S. Ward
Attorneys for Plaintiff
10 OLYMPIC DIAMOND CORPORATION

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EXHIBIT B
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EXHIBIT C

 
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EXHIBIT D

 
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EXHIBIT G

 

 
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EXHIBIT H

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Christina A. Snyder and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV08- 3197 CAS (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 30 of 32 Page ID #:30

Berke, Kent & Ward LLP

Ted S. Ward, Esq. (SBN 143810)

624 S. Grand Avenue, Suite 2940

Los Angeles, California 90017

(213) 995-2500 / (213) 995-2505 Fax.

Attorneys for Plaintiff Olympic Diamond Corporation

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Olympic Diamond Corporation, a New York. CASE NUMBER

corporation, prams) | cy 0 8 . Q 31 9 7 C AS | ( R Zy )
v. .
Lansar LLC dba Gemological Services of Beverly

Hills, a California corporation; Zareh Boyadjian, an
individual; and Does 1-10, inclusive,

 

 

 

 

SUMMONS
DEFENDANT(S).
TO: DEFENDANT(S): -PROVE DAMED PECTED WMT

 

 

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached uw complaint amended complaint

C counterclaim D cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Ted $. Ward, Esa. , whose address is
624 S. Grand Avenue, Suite 2940, Los Angeles, California 90017 . If you fail to do so,

 

    
 

judgment by default will be entered against you for the relief demand¢d i
your answer or motion with the court.

   
 

a int. You also must file
4

 
  

Dated: WY 1 4 2008

 

/ dputy Cleyk V

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)}.

 

CV-01A (12/07) SUMMONS

 
Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 31 o0f 32 Page ID #31

fo
\ } : \

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
I (a) PLAINTIFRS (Check box if you are representing yourself a DEFENDANTS
OLYMPIC DIAMOND CORPO TION, a New York corporation LANSAR LLC dba GEMOLOGICAL SERVICES OF BEVERLY

HILLS, a California corporation; ZAREH BOYADJIAN, an
individual; and DOES 1-10, inclusive.

{b) County of Residence of First Listed Plaintiff (Except in U.S, Plaintiff Cases): County of Residence of First Listed Defendant (In U.S, Plaintiff Cases Only):
New York. Los Angeles

(c) Atlomeys (Firm Name, Address and Telephone Number, Jf you are representing Attorneys (If Known)

yourself, provide same,)
Berke, Kent & Ward LLP (213) 995-2500 / (213) 995-2505 Fax Unknown
Ted S, Ward, Esq. (SBN 143810)
624 8, Grand Avenue, Suite 2940
Los Angeles, California 90017

 

 

U, BASIS OF JURISDICTION (Place an X in one box only.) Wi. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
: (Place an X in one box for plaintiff and one for defendant.)
11U,8. Government Plaintiff (13 Federal Question (U.5, PIF DEF PTF DEF
Government Not a Party) Citizen of This State D1 J} Incorporated or Principal Place [14 D4
of Business in this State :
(12 U.S. Government Defendant IW’4 Diversity (Indicate Citizenship Citizen of Another State (12 [12 Incorporated and Principal Place ws Os
of Parties in Item WI) of Business in Another Staie
Citizen or Subject of a Foreign Country O3 3. Foreign Nation D6 16

 

 

IV, ORIGIN (Place an X in one box only.)

1 Original (12 Removed from (13 Remanded from (14 Reinstated or []5 Transferred from another district (specify): [16 Multi- {17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V, REQUESTED IN COMPLAINT: J URY DEMAND: [Yes [1 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under .R.CP. 23: DYes No fy MONEY DEMANDED IN COMPLAINT: $_OVEl $1,000,000.00

VI. CAUSE OF ACTION (Cite the U.S, Civil Statute under which you are filing and write a brief statement of cause, Do not cite jurisdictional statutes unless diversity.)

 

VIL. NATURE OF SUIT (Place an X in one box only.)

   
  

       

Fair Labor Standards

         

 
  

   
  
    

 

     
 
 
 
 
 

 

 

 
 
 
   

 

     
  

Oo tate Reapp 110 Insurance INA

(10-410 Antitrost (11120 Marine (4310 Airplane OPER! Act

1430 Banks and Banking (1130 Miller Act (1315 Airplane Product |[) 370 Other Fraud Vacate Sentence {11720 Labor/Mgmt.

[1450 Commerce/ICC (1 140 Negotiable Instrument Liability 19371 Troth in Lending Habeas Corpus Relations
Rates/etc, (1150 Recovery of 1320 Assault, Libel & |C1 380 Other Personal 1 530 General (19730 Labor/Megmt.

[1 460 Deportation Overpayment & Slander Property Damage|L] 535 Death Penalty Reporting &

(1470 Racketeer Influenced Enforcement of (1330 Fed, Employers’ |[1 385 Property Damage |X) 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other 11740 Railway Labor Act
Organizations 1115] Medicare Act 1) 340 Marine 2171 550 Civil Rights 11790 Other Labor

(4480 Consumer Credit [1152 Recovery of Defaulted |[1 345 Marine Product {|[1 422 Appeal 28 USC IL Prison Condition Litigation

(1490 Cable/Sat TV Student Loan (Excl, Liability 158 : 11791 Empl. Ret. Inc.

[1810 Selective Service Veterans) (350 Motor Vehicle (1 423 Withdrawal 28 j

[1850 Seourities/Commodities |Z] 153 Recovery of _ |(1355 Motor Vehicle USC 157
/Exchange Overpayment of Product Liability [1 620 Other Food & yrights

1875 Cusiomer Challenge 12 Vetcran’s Benefits (9360 Other Personal [1441 Voting Drag Patent
USC 3410 C160 Stockholders’ Suits Injury (1 442 Employment 11 625 Drug Related

£1890 Other Statutory Actions /f&¥! 190 Other Contract (1362 Personal Injury- |) 443 Housing/Acco- Seizure of IGIAL SEGUR

[11891 Agricultural Act [1195 Contract Product Med Malpractice minodations Property 21 UBC HIA (1395£f)

(1892 Economic Stabilization Liability (1365 Personal Injury- |[1 444 Welfare 881 Black Lung (923)
Acl (1196 Franchise _ Product Liability |[1445 American with LJ 630 Liquor Laws DIWC/DIWW

(1 893 Environmental Matiers 1 368 Asbestos Personal Disabilities - [1 640 _B.R, & Truck (405(g))

(1 894 Energy Allocation Act 2 Injury Product Employment (1650 Airline Regs DC) 864 SSID Title XV1

(1895 Freedom of Info, Act }[1 220 Foreclosure Liability (3.446 American with [1 660 Occupational

 
   
   

11900 Appeal of Fee Determi- |11 230 Rent Lease & Ejectment Disabilities ~ Safely Health |: “FEDER j :
nation Under Equal (1240 Torts to Land Other (1 690 Other 1 870 Taxes (U.S. Plaintiff
Access {o Iystice (1245 Tort Product Liability (1.440 Other Civil or Defendant)
(1950 Constitutionality of (1 290 Al) Other Real Property Rights 1 871 IRS-Third Party 26
State Statutes USC 7609

 

 

 

 

 

 

Vill(a). IDENTICAL CASES: Has this action been previously filed and dismissed, yemanded or closed? No O Yes
If yes, list case number(s):

FOR OFFICE USE ONLY: Case Number:

 

 

CV-71 (07/05) CIVIL COVER SHEET Page 1 of 2
ion. Mme mr mH "rT 7Tan 7
Case 2:08-cv-03197-CAS-RZ Document 1 Filed 05/14/08 Page 32 of 32 Page ID #:32 .

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

“AFTER COMPLETING THE FRONT SIDE OF FORM CY-71, COMPLETE THE INFORMATION REQUESTED BELOW,

YIU(b), RELATED CASES: Have any cases been previously filed thal are related to the present case? WNo 1 Yes

 

If yes, list case number(s):

Ciyll cases are deemed related if s previously filed case and the present case:
(Check all boxes that apply) [A, Arise from the same or closely related transactions, happenings, or events; or
CB, Call for determination of the same or substantially related or similar questions of law and fact; or
COC, For other seasons would entail substantial duplication of labor if heard by different judges; or
(1D, Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present,

—_

 

1X, VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
Cl Check here if the U.S, govermnent, its agencies or employees is a named plaintiff.

NEW YORK

List the California County, or State if other than California, in which EACH named defendant resides, (Use an additional sheet if necessary).
[) Check here if the U.S, government, its agencies or employees is a named defendant.
LOS ANGELES

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)

Note: In land condemnation cases, use the location of the tract of land involved,
LOS ANGELES

 

of a
X, SIGNATURE OF ATTORNEY (OR PRO PER): [Lk Aa): “A Date May 13, 2008

Notice to Counsel/Parties: The CV-71 (18-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by Jaw, This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.) .

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA Allclaims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, efc., for certification as providers of services under the
program, (42 U,5.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Par! B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U,8.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, ag amended, (42 U.S.C, 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (07/05) CIVIL COVER SHEET Page 2 of 2
